61 F.3d 913
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellant,v.Enrique FERNANDEZ-PARDO, aka Miguel Del Rio Cacho; ToribioZapeda-Castro, Defendants-Appellees.
    Nos. 94-50401, 94-50402.
    United States Court of Appeals, Ninth Circuit.
    Argued and Submitted Nov. 3, 1994.Submission Withdrawn July 17, 1995.Decided Nov. 28, 1994.Resubmitted July 19, 1995.
    
      Appeal from the United States District Court, for the Central District of California, D.C. Nos.  CR-94-00146-DT, CR-94-00399-DT; Dickran M. Tevrizian, District Judge, Presiding.
      C.D.Cal.
      REMANDED.
      Before:  GIBSON,* HUG, and POOLE, Circuit Judges.
      ORDER
      The United States appeals from the district court's dismissal of the indictments of Toribio Zapeda-Castro and Enrique Fernandez-Pardo as sanctions for failure to comply with discovery orders in response to defendants' claims that their prosecutions for being deported aliens found in the United States, 8 U.S.C. Sec. 1326(b)(1) and (b)(2) respectively, resulted from impermissible selective prosecutions on the basis of race.
      After the district court's decisions in these cases, we decided United States v. Armstrong, 48 F.3d 1508 (9th Cir. 1995) (en banc).  We decline to determine whether the district court must, may, or may not grant discovery on the facts of these cases following Armstrong, as we conclude that the issue is properly resolved as an initial matter by the district court.  We therefore remand to the district court for reconsideration under the standard set out in Armstrong.
      REMANDED.
    
    
      
        *
         Honorable Floyd R. Gibson, Senior United States Circuit Judge for the Eighth Circuit Court of Appeals, sitting by designation
      
    
    